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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JESSICA MCGOWAN;

            Plaintiff,
                                       JURY TRIAL DEMANDED
v.
                                       Civil Action
GATEWAY HEALTH, LLC;                        2:21-cv-1236
                                       No. _____________________
            Defendant.


                               COMPLAINT

     Plaintiff, by and through her undersigned counsel, files this

Complaint averring that Defendant violated her rights pursuant to

the Americans with Disabilities Act of 1990, 42 U.S.C. § 12101, et

seq. (“ADA”), and the Family and Medical Leave Act of 1993, 29

U.S.C. § 2601, et seq. (“FMLA”), as follows:


                        Parties and Jurisdiction

  1. Plaintiff     Jessica   McGowan     (“Plaintiff”)     is      an   adult

individual residing in Pittsburgh, Pennsylvania           15216.

  2. Upon information and belief, Defendant Gateway Health, LLC

(“Defendant”) is a Pennsylvania Limited Liability Company with its

headquarters and principal place of business located at 444 Liberty

Avenue, Suite 2100, Pittsburgh, Pennsylvania          15222.

  3. At   all   times   material   hereto,    Defendant   was   Plaintiff’s

employer and acted by and through its agents, servants, and



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employees, each of whom acted in the course and scope of their

employment with and for Defendant.

  4. Plaintiff has exhausted her administrative remedies pursuant

to the Equal Employment Opportunity Act. (See Exhibit “A”, a true

and correct copy of the “Notice of Rights” issued by the Equal

Employment Opportunity Commission.)

  5. This action is instituted pursuant to the ADA and FMLA.

  6. Jurisdiction is conferred by 28 U.S.C. § 1331 and § 1343.

  7. Venue is properly laid in this district because Defendant

conducts business in this district and because a substantial part

of the acts and omissions giving rise to the claims set forth

herein occurred in this judicial district. 28. U.S.C. §§ 1391(b)(1)

and (b)(2). Plaintiff was working in the Western District of

Pennsylvania at the time of the illegal conduct by Defendant, as

set forth herein.


                          Factual Background

  8. Plaintiff began her employment with Defendant on or about

June 29, 2015.

  9. At the time of her termination of employment by Defendant,

Plaintiff held the position of Senior Customer Service Agent.

 10. Plaintiff is disabled in that she suffers from Diabetes I,

Neuropathy, Carpal Tunnel Syndrome, and Bi-Polar Disorder I.




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 11. On or about May 26, 2020, Plaintiff simultaneously utilized

Short Term Disability leave and FMLA leave due to her disabilities.

 12. Defendant’s agent for Short Term Disability is Absence One.

 13. On or about June 23, 2020, Plaintiff attempted to return to

work from her leave of absence.

 14. Upon   her   attempt   to   return   to    work,   Defendant   informed

Plaintiff that they had not yet received her return-to-work form

from her physician.

 15. Plaintiff then contacted her physician’s office to confirm

that the form was sent, which they confirmed it was sent to Absence

One and Sherry LNU in Defendant’s in-house “Leave Services”.

 16. On or about July 14, 2020, Plaintiff contacted Sherri, but

Sherri informed Plaintiff that she could not return until the

letter was sent to Defendant.

 17. Plaintiff requested from her physician that the letter be

sent to Plaintiff directly so she could provide it to Defendant

personally. Plaintiff received the requested letter on or about

July 24, 2020.

 18. On or about July 23, 2020, Plaintiff received a letter from

Defendant, dated July 21, 2020, stating that she voluntarily

resigned due to job abandonment, effective July 20, 2020, for

failing to report to work without following the proper call-off

procedures for three consecutive days.



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 19. Plaintiff’s        last    communication        with   Defendant,   prior     to

receiving the July 21, 2020 letter, was with Sherri on July 14,

2020, and at no time was Plaintiff informed that she was scheduled

to work.

 20. It was not until after receiving the July 21, 2020 letter

that Plaintiff discovered that Defendant scheduled her to work on

July 16, 2020, July 17, 2020, and July 18, 2020.

 21. On July 24, 2020, Plaintiff immediately attempted to contact

Diana Vodzek (Human Resources Business Partner) and Doug Whalen

(Manager) to explain what occurred, but could not reach either and

left voicemails for both individuals.

 22. On    or   about    July    27    or   28,   2020,     Plaintiff   received   a

voicemail from Ms. Vodzek.

 23. During a series of exchanged voicemails, Ms. Vodzek suggested

a meeting between Plaintiff and Defendant, and Plaintiff agreed.

 24. The meeting was never scheduled despite Plaintiff’s attempts

to discuss and meet with Defendant.

 25. Plaintiff     followed      up     again     with   Ms.   Vodzek   to   request

additional information on her termination, but Ms. Vodzek refused

to provide anything additional.




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                             Causes of Action

                                 Count I
               Unlawful Discrimination Based on Disability
                         in Violation of the ADA

 26. Plaintiff incorporates the foregoing paragraphs as if set

forth fully herein.

 27. As a result of Plaintiff’s medical conditions, Diabetes I,

Neuropathy, Carpal Tunnel Syndrome, and Bi-Polar Disorder I, she

is “disabled” as such term is defined by the ADA.

 28. At all times material hereto, Plaintiff was a “qualified

individual” as such term is defined by the ADA.

 29. Defendant is an “employer” as such term is defined by the

ADA.

 30. Plaintiff suffered an adverse employment action by Defendant.

 31. Plaintiff’s     disabilities      were   a   determinative     factor   in

Defendant’s decision to take adverse action against Plaintiff.

 32. Defendant’s alleged reasoning for Plaintiff’s separation from

employment is pretextual.

 33. Defendant’s     conduct,    as    described    herein,    constitutes    a

violation of the ADA.

 34. As    a   proximate   result     of   Defendant’s   conduct,   Plaintiff

sustained significant damages, including, but not limited to:

great     economic   loss,    future       lost   earning     capacity,   lost

opportunity, loss of future wages, loss of front pay, loss of back

pay,    emotional    distress,      pain    and   suffering,    consequential

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damages, loss of opportunity, and a permanent diminution of her

earning power and capacity, and a claim is made therefore.

 35. Defendant   acted   with   malice    or   reckless   indifference   to

Plaintiff’s    rights   protected   by   the   ADA,   therefore   Plaintiff

demands punitive damages.

 36. Pursuant to the ADA, Plaintiff demands attorneys’ fees and

court costs.


                             Count II
           Unlawful Retaliation in Violation of the ADA

 37. Plaintiff incorporates the foregoing paragraphs as if set

forth fully herein.

 38. As a result of Plaintiff’s medical conditions, Diabetes I,

Neuropathy, Carpal Tunnel Syndrome, and Bi-Polar Disorder I, she

is “disabled” as such term is defined by the ADA.

 39. At all times material hereto, Plaintiff was a “qualified

individual” as such term is defined by the ADA.

 40. Defendant is an “employer” as such term is defined by the

ADA.

 41. Plaintiff engaged in activity protected by the ADA when she

requested and/or utilized an accommodation for her disabilities.

 42. Plaintiff suffered an adverse employment action by Defendant.

 43. Defendant took adverse employment action against Plaintiff

because she engaged in protected activity.




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 44. Defendant’s alleged reasoning for Plaintiff’s separation from

employment is pretextual.

 45. Defendant’s       conduct,     as    described     herein,    constitutes    a

violation of the ADA.

 46. As    a   proximate     result      of    Defendant’s   conduct,    Plaintiff

sustained significant damages, including, but not limited to:

great     economic     loss,    future         lost   earning     capacity,   lost

opportunity, loss of future wages, loss of front pay, loss of back

pay,    emotional     distress,       pain      and   suffering,    consequential

damages, loss of opportunity, and a permanent diminution of her

earning power and capacity, and a claim is made therefore.

 47. Defendant       acted   with     malice     or   reckless   indifference    to

Plaintiff’s     rights     protected      by    the   ADA,   therefore   Plaintiff

demands punitive damages.

 48. Pursuant to the ADA, Plaintiff demands attorneys’ fees and

court costs.


                                Count III
                Unlawful Retaliation in violation of the
                                  FMLA

 49. Plaintiff incorporates the foregoing paragraphs as if set

forth fully herein.

 50. At all times material hereto, Plaintiff was entitled to the

protections or benefits of the FMLA.




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 51. Plaintiff’s medical conditions qualified as a “serious health

condition” as such term is defined by the FMLA.

 52. Plaintiff worked for Defendant for more than twelve months

prior to her request for FMLA, and within the immediately preceding

twelve months, worked more than 1,250 hours. Therefore, Plaintiff

possessed the requisite length of service and number of hours

worked to qualify as an “eligible employee” as such term is defined

by the FMLA.

 53. Defendant employs fifty or more employees within a seventy-

five-mile radius and, therefore, qualifies as an “employer” as

such term is defined by the FMLA.

 54. Plaintiff requested and/or utilized leave under the FMLA to

care for her own serious health conditions, or otherwise exercised

her rights under the FMLA, thereby engaged in activity protected

by the FMLA.

 55. Defendant took adverse employment action against Plaintiff

because she engaged in activity protected by the FMLA.

 56. Defendant’s alleged reasoning for Plaintiff’s separation from

employment is pretextual.

 57. Defendant’s     conduct,   as     described   herein,    constitutes   a

violation of the FMLA.

 58. As    a   proximate   result    of   Defendant’s   conduct,   Plaintiff

sustained significant damages, including, but not limited to:

great     economic   loss,    future      lost   earning     capacity,   lost

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opportunity, loss of future wages, loss of front pay, loss of back

pay, consequential damages, loss of opportunity, and a permanent

diminution of her earning power and capacity, and a claim is made

therefore.

 59. Pursuant to the FMLA, Plaintiff demands liquidated damages.

 60. Pursuant to the FMLA, Plaintiff demands attorneys’ fees and

court costs.


                               Count IV
              Unlawful Interference With, Restraint, or
             Denial of Plaintiff’s Right to Take Medical
                    Leave in violation of the FMLA

 61. Plaintiff incorporates the foregoing paragraphs as if set

forth fully herein.

 62. At all times material hereto, Plaintiff was entitled to the

protections or benefits of the FMLA.

 63. Plaintiff’s medical conditions qualified as a “serious health

condition” as such term is defined by the FMLA.

 64. Plaintiff worked for Defendant for more than twelve months

prior to her request for FMLA, and within the immediately preceding

twelve months, worked more than 1,250 hours. Therefore, Plaintiff

possessed the requisite length of service and number of hours

worked to qualify as an “eligible employee” as such term is defined

by the FMLA.




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 65. Defendant employs fifty or more employees within a seventy-

five-mile radius and, therefore, qualifies as an “employer” as

such term is defined by the FMLA.

 66. Plaintiff was entitled to leave under the FMLA to care for

her own serious health conditions.

 67. Defendant       interfered     with,    restrained,    and/or      denied

Plaintiff’s FMLA rights when it terminated her employment.

 68. As    a   proximate   result    of   Defendant’s   conduct,   Plaintiff

sustained significant damages, including, but not limited to:

great     economic    loss,   future      lost    earning   capacity,     lost

opportunity, loss of future wages, loss of front pay, loss of back

pay, consequential damages, loss of opportunity, and a permanent

diminution of her earning power and capacity, and a claim is made

therefore.

 69. Pursuant to the FMLA, Plaintiff demands liquidated damages.

 70. Pursuant to the FMLA, Plaintiff demands attorneys’ fees and

court costs.

                              Relief Requested

     WHEREFORE, Plaintiff Jessica McGowan demands judgment in her

favor and against Defendant Gateway Health LLC in an amount in

excess of $150,000 together with:

  A. Compensatory damages for: including, but not limited to,

     emotional distress, pain and suffering, economic loss, lost



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    wages and benefits, lost future earnings, and lost future

    earning capacity;

  B. Punitive damages;

  C. Liquidated damages;

  D. Attorneys’ fees and costs of suit;

  E. Interest, delay damages; and

  F. Any other further relief this Court deems just, proper, and

    equitable.



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